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                        THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO



     JULIO A. RIVERA-GÓMEZ,

         Plaintiff,

         v.

     LUXURY HOTELS INTERNATIONAL
     OF PUERTO RICO, INC. d/b/a THE                      Civil No. 16-3087 (ADC)
     RITZ-CARLTON SAN JUAN HOTEL,
     SPA & CASINO a/k/a THE RITZ-
     CARLTON HOTEL COMPANY OF
     PUERTO RICO, INC.,

         Defendant.



                                  OPINION & ORDER

        There are two motions pending before the Court. First is defendant’s motion to dismiss

plaintiff’s complaint and compel arbitration, ECF No. 6, plaintiff’s reply thereto, ECF No. 8, and

defendant’s surreply, ECF No. 11. Second is plaintiff’s motion to strike defendant’s dispositive

motion, ECF No. 14, and defendant’s reply, ECF No. 15. For the reasons explained below, the

Court GRANTS defendant’s motion to dismiss and compel arbitration at ECF No. 6 and

DENIES plaintiff’s motion to strike at ECF No. 14. Defendant’s motion at ECF No. 18 is

DENIED AS MOOT.

I.      Factual and Procedural Background

        Plaintiff Julio A. Rivera-Gómez brought suit on December 5, 2016 against his employer,

defendant Luxury Hotels International of Puerto Rico, Inc. d/b/a The Ritz-Carlton San Juan
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Hotel, Spa & Casino a/k/a The Ritz-Carlton Hotel Company of Puerto Rico, Inc. ECF No. 1.

Plaintiff seeks recovery for wrongful termination and age discrimination in violation of Puerto

Rico law and the Age Discrimination in Employment Act (“ADEA”), 29 U.S.C. § 621 et seq. ECF

No. 1 at 7–10. Plaintiff’s complaint indicates that, prior to filing suit, he “filed a timely written

charge with the Equal Employment Opportunity Commission (‘EEOC’), where he notified

defendant[] and indicated discrimination based on age,” to which the EEOC replied with a

“Notice of Right to Sue,” thereby “exhaust[ing] all administrative remedies.” ECF No. 1 at 3.

       Defendant moved for more time to file its answer or otherwise plead, ECF No. 4, which

the Court granted with the caveat that “[d]ispositive motions will not be considered in lieu of

an answer,” ECF No. 5. Defendant subsequently filed a combined answer and motion to dismiss

and compel arbitration. ECF No. 6. Defendant argues that the Court lacks subject matter

jurisdiction due to the existence of a signed arbitration agreement between the parties that

defendant appended to its responsive pleading and refiled separately. ECF Nos. 6, 6-1, 7.

According to defendant, plaintiff executed the “Ritz-Carlton’s Employee Agreement” (the

“Agreement”) on June 3, 2005, in which employees’ rights and obligations are outlined. ECF No.

6 at 2. Defendant contends that the Agreement outlines a three “step alternative dispute

resolution process that employees must follow to resolve workplace incidents before filing a

lawsuit,” the final step of which “requires that the employee submit to arbitration claims of

unjust dismissal, discrimination and/or retaliation.” Id. Defendant alleges that plaintiff
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“bypassed his contractual obligation to arbitrate his claims and, instead, filed the instant case.”

Id. Defendant argues that the Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq., “‘leaves no

place for the exercise of discretion by a district court, but instead mandates that district courts

shall direct the parties to proceed to arbitration on issues as to which an arbitration agreement

has been signed.’” Id. at 4 (quoting Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985)).

Accordingly, defendant contends that plaintiff’s case must be dismissed and arbitration

compelled and that the Court has no discretion under the FAA to do otherwise.

       Plaintiff timely responded to defendant’s motion, arguing that the Agreement is

irrelevant because the “entity identified in the document”—“The Ritz-Carlton Hotel Company,

LLC”—was “not plaintiff’s true employer.” ECF No. 8 at 1. Rather, plaintiff’s true employer, as

identified on his 2015 and 2016 W-2 forms appended to his responsive pleading, was “Luxury

Hotel Internation [sic] of Puerto Rico Inc.” ECF Nos. 8-2, 8-3. Defendant timely replied, arguing

that plaintiff’s challenge to the identity of his employer is disingenuous and founded on the

“irrational argument” that plaintiff “agreed to arbitrate his employment claims, but with an

entity that was never his employer.” ECF No. 11 at 4. Plaintiff subsequently filed a surreply in

response to defendant’s surreply. ECF No. 12. The Court ordered that filing stricken from the

record on the basis that “plaintiff does not, and will not, have leave to file it.” ECF No. 13.

       On June 7, 2017, plaintiff subsequently filed a motion to strike defendant’s motion on the

grounds that the filing had been prohibited by the Court’s earlier order granting defendant more
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time to file its answer but declining to extend that time to filing dispositive motions. ECF Nos.

14, 5. Defendant timely replied, arguing that plaintiff’s motion to strike is “a subterfuge to refile

a Surreply [to defendant’s motion to dismiss] that was already stricken from the record.” ECF

No. 15 at 2. Moreover, defendant asserts that its motion to dismiss is in compliance with the

Court’s earlier order because it was filed in conjunction with its answer, not in lieu of its answer.

Id.

II.    Legal Standard

       The enforceability of the arbitration clause in the Agreement is the central question before

the Court. “Congress passed the FAA to overcome a history of judicial hostility to arbitration

agreements.” Escobar-Noble v. Luxury Hotels Intern. of Puerto Rico, Inc., 680 F.3d 118, 121 (1st Cir.

2012). “A party seeking to compel arbitration under the FAA must demonstrate that a valid

agreement to arbitrate exists, that the movant is entitled to invoke the arbitration clause, that the

other party is bound by that clause, and that the claim asserted comes within the clause’s scope.”

Dialysis Access Ctr., LLC v. RMS Lifeline, Inc., 638 F.3d 367, 375 (1st Cir. 2011) (citation and internal

quotation marks omitted). See also Escobar-Noble, 680 F.3d at 122 (explaining that “courts decide

questions of arbitrability, that is, questions about whether the parties have agreed to submit a

given dispute to arbitration”). “In carrying out this endeavor, ‘due regard must be given to the

federal policy favoring arbitration, and ambiguities as to the scope of the arbitration clause itself

resolved in favor of arbitration.’” Dialysis Access Ctr., 638 F.3d at 376 (additional citation and
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internal quotation marks omitted) (quoting Mastrobuono v. Shearson Lehman Hutton, Inc., 514 U.S.

52, 62, (1995)). “‘When deciding whether the parties agreed to arbitrate a certain matter . . . ,

courts generally . . . should apply ordinary state-law principles that govern the formation of

contracts.’” Id. (omissions in original) (quoting First Options of Chicago, Inc. v. Kaplan, 514 U.S.

938, 944 (1995)). Puerto Rico law requires three things for a contract to be valid: “(1) [t]he consent

of the contracting parties[,] (2) [a] definite object which may be the subject of the contract[, and]

(3) [t]he cause for the obligation which may be established.” P.R. Laws Ann. tit. 31, § 3391.

III.    Analysis

        The Court first addresses plaintiff’s motion to strike at ECF No. 14. Plaintiff seeks to strike

defendant’s motion, arguing that the motion violated the Court’s order at ECF No. 5 that

“[d]ispositive motions will not be considered in lieu of an answer.” Defendant filed its

dispositive motion in conjunction with its answer, not in lieu of its answer. Accordingly, plaintiff’s

motion to strike at ECF No. 14 is DENIED. 1

        Next, the Court addresses the validity of the Agreement by walking through the four

steps outlined by the First Circuit Court of Appeals. As stated above, “[a] party seeking to

compel arbitration under the FAA must demonstrate that a valid agreement to arbitrate exists,




1 The Court also admonishes plaintiff’s counsel for attempting to use the motion to strike as a backdoor to file a
surreply to defendant’s motion to dismiss and compel arbitration. The majority of plaintiff’s motion to strike is
dedicated to attacking the substance of defendant’s motion to dismiss and compel arbitration. The Court already
struck plaintiff’s surreply to that motion, noting that “plaintiff does not, and will not, have leave to file it.” ECF Nos.
12, 13.
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that the movant is entitled to invoke the arbitration clause, that the other party is bound by that

clause, and that the claim asserted comes within the clause’s scope.” Dialysis Access Ctr., 638 F.3d

at 375 (citation and internal quotation marks omitted).

       The Agreement signed by the parties outlines a three-step process for dispute resolution

between employees and the employer, culminating with arbitration. ECF No. 7 at 4. The

Agreement states, “I must request Arbitration if I wish to challenge my termination for any

reason or for management decisions that I believe are discriminatory or retaliatory.” Id. at 7. The

Agreement describes what arbitration is and how an employee can request arbitration and

states, “I understand that by signing this agreement, I am waiving the ability to file a lawsuit to

challenge any termination or management decision that is covered by this Arbitration

provision.” Id. Plaintiff’s name and signature, dated June 3, 2005, appear on the last page of the

Agreement, under text that includes the statement, “I agree to this Employee Agreement.” Id. at

9.

       Plaintiff does not challenge the Agreement’s validity, that he is bound by the Agreement,

or that his claims in the complaint fall within the Agreement’s scope. Plaintiff does not claim,

nor does the record disclose, that his consent to the Agreement is void because he signed in

“error, under violence, by intimidation, or deceit.” See P.R. Laws Ann. tit. 31, § 3404 (outlining

when consent to a contract is void). Plaintiff signed a form stating that he read and agreed to the

terms of the Agreement. And the claims in his complaint—wrongful termination and age
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discrimination—clearly fall within the scope of the Agreement’s arbitration clause. Thus, there

is no basis for the Court to conclude that: (i) the Agreement is not valid; (ii) it does not apply to

plaintiff; and (iii) it does not encompass his claims. 2

        Plaintiff advances just one argument to undermine the applicability of the Agreement—

that defendant is not a party to the Agreement. ECF No. 8. Plaintiff asserts that the Agreement

identifies the employer as “The Ritz-Carlton Hotel Company, LLC,” while defendant, and

plaintiff’s “true” employer is “Luxury Hotel Internation [sic] of Puerto Rico,” as identified on

plaintiff’s 2015 and 2016 W-2 Forms. ECF Nos. 8; 8-1 at 3; 8-2; 8-3. Moreover, plaintiff contends

that the entity identified in the Agreement is not a registered corporation in Puerto Rico, and

“the closest similarly name[d] entity registered ‘The Ritz-Carlton Hotel Company, Inc.’

dissolved in 1989,” as indicated in a “‘Negative Certificate’ from the Commonwealth of Puerto

Rico Department of State.” 3 ECF Nos. 8 at 2; 8-4; 8-5.

        Defendant asserts that the difference in corporate names on its paperwork is

inconsequential and “often happens in multinational companies where template documents are

shared.” ECF No. 11 at 2. To prove this assertion, defendant appended to its reply memorandum

a “Banquet Event Order Form” that is date stamped for May 7, 2007, at which time plaintiff was


2It is also worth noting that the Agreement at issue in the present case is strikingly similar, if not identical, to the
agreements upheld in prior decisions by this Court and the First Circuit. See, e.g., Soto-Fonalledas v. Ritz-Carlton San
Juan Hotel Spa & Casinos, 640 F.3d 471, 473–74 (1st Cir. 2011); Torres-Rosario v. Mariott Intern. d/b/a Ritz-Carlton Hotel,
Spa & Casino, 872 F.Supp.2d 149, 153 n.5 (D.P.R. July 5, 2012) (FAB).

3Plaintiff makes this argument despite filing his complaint against “The Ritz-Carlton Hotel Company of Puerto
Rico, Inc.” as an “a/k/a” of his employer. See ECF No. 1.
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Banquet Chef. ECF Nos. 11 at 2; 11-2; 1 at 1, 4. The banquet form bears both the corporate name

now challenged by plaintiff, “The Ritz-Carlton Hotel Company, LLC,” with the name plaintiff

recognizes as his employer’s d/b/a, “The Ritz-Carlton, San Juan Hotel, Spa & Casino,” directly

underneath. ECF Nos. 11 at 2; 11-2. Defendant also included a copy of the employee handbook

titled, “Ladies and Gentlemen Manual,” which contains references to both “The Ritz-Carlton

LLC” and “The Ritz-Carlton, San Juan Hotel & Casino.” ECF Nos. 11 at 2; 11-3 at 2, 74–78. The

Ladies and Gentleman Manual outlines many of the benefits that plaintiff described receiving

in his complaint, such as pay raises, awards, and promotions. ECF Nos. 11 at 2; 11-3 at 3–4, 31–

33, 42–43; 1 at 4–5. Last, defendant included in its reply performance evaluations from

throughout plaintiff’s employment; those evaluations bear the corporate name, “Ritz-Carlton

Hotel Company, LLC,” and are signed by plaintiff and at least one individual that plaintiff listed

in the complaint as a past manager (Jason Adams). ECF No. 11-4. The evaluations are

overwhelmingly positive, corresponding with plaintiff’s allegation that “his performance

always met employer’s expectations.” ECF No. 1 at 4.

       The Court agrees with defendant that plaintiff’s challenge to the Agreement is

disingenuous. Plaintiff asserts that Luxury Hotels International of Puerto Rico is his “true”

employer and identifies the Ritz-Carlton San Juan Hotel, Spa & Casino as its d/b/a. ECF Nos. 8,

1. The d/b/a entity, the Ritz-Carlton San Juan Hotel, Spa & Casino, is named in the Agreement

as the employer. Moreover, the banquet form displays both Ritz-Carlton names as if they are
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the same entity and the form is dated for a time during which plaintiff worked at the hotel.

Likewise, the employee performance evaluations submitted by defendant, identifying the

employer as “The Ritz-Carlton Hotel Company, LLC,” align with factual allegations contained

in plaintiff’s complaint and appear to be signed by plaintiff. Accordingly, defendant Luxury

Hotels International of Puerto Rico, Inc. d/b/a The Ritz-Carlton San Juan Hotel, Spa & Casino is

party to the Agreement and may properly assert the arbitration clause in the Agreement.

IV.   Conclusion

      The Court GRANTS defendant’s motion to dismiss and compel arbitration at ECF No. 6

and DENIES plaintiff’s motion to strike at ECF No. 14. Plaintiff’s complaint is DISMISSED

WITHOUT PREJUDICE and the parties are ordered to enter arbitration. Defendant’s motion at

ECF No. 18 is DENIED AS MOOT. Judgement shall be entered accordingly.

      SO ORDERED.

      At San Juan, Puerto Rico, on this 13th day of March 2018.

                                                 S/AIDA M. DELGADO-COLÓN
                                                 Chief United States District Judge
